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               IN THE UNITED STATES DISTRICT COURT
               FOR THE DISTRICT OF SOUTH CAROLINA


                                           MDL No. 2-18-mn-2873-RMG
IN RE: AQUEOUS FILM-FORMING
FOAMS PRODUCTS LIABILITY                   This Document Relates to:
LITIGATION                                 City of Camden, et al. v. 3M Company,
                                           Case No. 2:23-cv-03147-RMG

                SOVEREIGNS’ MOTION TO INTERVENE
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         TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD:

         PLEASE TAKE NOTICE that Arizona, California, Colorado, Connecticut, Hawaii,

Maine, Maryland, Massachusetts, Minnesota, New Hampshire, New Jersey, New Mexico, New

York, Ohio, Pennsylvania, Rhode Island, Tennessee, Texas, Vermont, Wisconsin, as well as the

District of Columbia, Puerto Rico, and the Commonwealth of the Northern Mariana Islands

(collectively, the “Sovereigns”), by and through their respective Attorneys General and/or their

respective counsel, will and hereby do move this Court, for the reasons set forth in their

Memorandum of Law in Support of this Motion, for leave to intervene as of right in this action

pursuant to Fed. R. Civ. P. 24(a). In the alternative, the Sovereigns seek permissive intervention

pursuant to Fed. R. Civ. P. 24(b).

         The grounds for this motion are as follows:

 1.      The Sovereigns satisfy each requirement to intervene as of right under Rule 24(a)(2). The

         motion is timely, the Sovereigns have significant protectable interests in this action, denial

         of the Motion would impair the Sovereigns’ ability to protect those interests, and the

         Sovereigns’ interests are not adequately protected by the parties to City of Camden, et al.

         v. 3M Company, No. 2:23-cv-03147-RMG.

 2.      In the alternative, the Sovereigns should be granted permissive intervention pursuant to

         Rule 24(b) because the Motion is timely, the Sovereigns’ claims share common questions

         of law and fact with Plaintiffs’ claims in this action, and intervention will not result in

         undue delay or prejudice to the parties to City of Camden, et al. v. 3M Company, No. 2:23-

         cv-03147-RMG.




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Dated: July 26, 2023         Respectfully submitted,

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                               CERTIFICATE OF SERVICE

       I hereby certify that on July 26, 2023, I electronically filed the foregoing document with

the Clerk of the Court using the Court’s CM/ECF system, which shall send notice to all counsel

of record.


Dated: July 26, 2023                                /s/ Nicholas G. Campins
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